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                          UNITED STATES DISTRICT COURT
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                       SOUTHERN DISTRICT OF CALIFORNIA
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     MARK EDWARD VENNERHOLM II &                Case No. 21-CV-806-GPC-BLM
12   REANNA ANN VENNERHOLM,
     individually and on behalf of a class of
13   similarly situated individuals,            ORDER:
14                           Plaintiffs,
                                                (1) DENYING AS MOOT
15         vs.                                  DEFENDANTS’ MOTION TO
                                                STAY PROCEEDINGS PENDING
16   GEICO CASUALTY COMPANY, GEICO
     INDEMNITY COMPANY, GEICO                   JPML CONSIDERATION AND
17   GENERAL INSURANCE COMPANY,                 VACATING THE
     AND GOVERNMENT EMPLOYEES                   NOVEMBER 12, 2021 HEARING
18   INSURANCE COMPANY,
19                           Defendants.        [ECF No. 24]
20
                                                (2) GRANTING IN PART
21                                              DEFENDANTS’ EX PARTE
22                                              APPLICATION TO EXTEND
                                                TIME TO RESPOND TO
23                                              PLAINTIFFS’ AMENDED
24                                              COMPLAINT

25                                              [ECF No. 36]
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      ORDER ON DEFENDANTS’ EX PARTE APPLICATION TO EXTEND TIME TO RESPOND
                            TO AMENDED COMPLAINT                   SGR/26304690.1
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 1           Before the Court is Defendants’ Motion to Stay Proceedings Pending JPML
 2   Consideration filed on June 30, 2021. ECF No. 24. Plaintiffs opposed the motion,
 3   ECF No. 29, and Defendants replied in support of the motion, ECF No. 30. The
 4   hearing is currently set for November 12, 2021. Also before the Court is
 5   Defendants’ Ex Parte Application to Extend Time to Respond to Plaintiffs’
 6   Amended Complaint filed on October 29, 2021. ECF No. 36. Plaintiffs filed a
 7   response in opposition to Defendants’ ex parte application on November 3, 2021.
 8   ECF No. 38.
 9           For the following reasons, the Court hereby DENIES AS MOOT
10   Defendants’ Motion to Stay and VACATES the November 12, 2021 hearing
11   thereon. Further, GOOD CAUSE appearing, the Court GRANTS IN PART
12   Defendants’ ex parte application for an extension of time, and ORDERS that
13   Defendants respond to Plaintiffs’ Amended Complaint on or before November 22,
14   2021.
15   I.   Defendants’ Motion to Stay
16           Defendants’ Motion to Stay sought to pause this litigation until the Judicial
17   Panel on Multidistrict Litigation (“JPML”) reached a decision about whether the
18   pretrial proceedings in the five separate cases brought against Defendants (including
19   the one Plaintiffs brought against Defendants in this district) should be consolidated
20   in one district for consolidated pretrial proceedings pursuant to section 1407. ECF
21   No. 24. On October 15, 2021, Plaintiffs filed a notice informing the Court that the
22   JPML denied Defendants’ motion under section 1407 to consolidate the five
23   lawsuits against Defendants in the Eastern District of New York or the District of
24   Maryland. ECF No. 33. The JPML Order stated the panel’s conclusion that
25   “centralization is not necessary for the convenience of the parties and witnesses or
26   to further the just and efficient conduct of this litigation.” ECF No. 35 at 1.
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     ORDER ON DEFENDANTS’ EX PARTE APPLICATION TO EXTEND TIME TO RESPOND
                           TO AMENDED COMPLAINT
                                                                             21cv00806-GPC-BLM
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 1         Because the JPML has now reached its decision, and rejected Defendants’
 2   request, the Court finds that Defendants’ Motion to Stay is now moot. Accordingly,
 3   the Court DENIES as moot the motion to stay, and VACATES the hearing on that
 4   motion.
 5   II.   Defendants’ Ex Parte Application for an Extension of Time
 6         On the same day that Plaintiffs filed their notice informing the Court of the
 7   JPML’s decision, Plaintiffs also filed their Amended Class Action Complaint. ECF
 8   No. 35. Defendants have now asked the Court for additional time to answer or
 9   respond to Plaintiffs’ Complaint, which includes new causes of action and a new
10   defendant which requires Defendants to further investigate the allegations in the
11   complaint. ECF No. 36 at 2, 3. Accordingly, the Court finds it reasonable to extend
12   Defendants’ time to respond to the amended complaint beyond the October 29, 2021
13   deadline.
14         Having read and considered Defendants’ ex parte application and Plaintiffs’
15   opposition, and GOOD CAUSE appearing, the Court hereby GRANTS IN PART
16   Defendants’ Ex Parte Application (ECF No. 36) and ORDERS that Defendants’
17   time to file a responsive pleading to the Amended Complaint be extended to
18   November 22, 2021.
19        IT IS SO ORDERED.
20   Dated: November 4, 2021

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     ORDER ON DEFENDANTS’ EX PARTE APPLICATION TO EXTEND TIME TO RESPOND
                           TO AMENDED COMPLAINT
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